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                                                                of 22



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                              UNITED STATES DISTRICT COURT
 9                          NORTHERN DISTRICT OF CALIFORNIA
                                 SAN FRANCISCO DIVISION
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12   LORI GRAY, et al.,                     Case No. C-08-00722 EDL
13                Plaintiffs,               XXXXXXXXXX ORDER GRANTING
                                            [PROPOSED]
                                            JOINT MOTION TO STAY
14   v.                                     PROCEEDINGS FOR PURPOSES OF
                                            SETTLEMENT
15   GOLDEN GATE NATIONAL
     RECREATION AREA, et al.,
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                  Defendants.
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      Case 3:08-cv-00722-EDL Document223-1
      Case3:08-cv-00722-EDL  Document 225 Filed 02/05/14 Page
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                                                                of 22



 1                                       xxxxxxxxxx ORDER
                                        [PROPOSED]
 2          Upon consideration of the parties’ Joint Motion to Stay Proceedings For Purposes of
 3   Settlement and for good cause shown, the Court GRANTS the parties’ Motion. It is hereby
 4   ORDERED that all proceedings in this matter are STAYED until further notice and that all

 5   pending deadlines are tolled.

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 7   IT IS SO ORDERED.

 8          Feb. 4
     DATED: ___________, 2014                _______________________________
                                             ELIZABETH D. LAPORTE
 9                                           United States Magistrate Judge
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      [Proposed] Order Granting Joint Motion To Stay Proceedings for Purposes of Settlement, Gray
            et al. v. Golden Gate National Recreation Area et al., Case No. C-08-00722 EDL
